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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              ATHENS DIVISION

 UNITED STATES OF AMERICA,                    :
                                              :
           v.                                 : CRIMINAL NO. 3:21-CR-9 (CAR)
                                              :
 CEDDRICK DEMON MERCERY,                      :
                                              :
           Defendant.                         :
                                              :

     DEFENDANT CEDDRICK MERCERY’S MOTION TO SUPPRESS THE
            INSTAGRAM AND APPLE SEARCH WARRANTS

       Defendant Ceddrick Mercery respectfully requests that the Court suppress (a) the

breathtaking volume of digital information that the Government obtained from Cedric

Mercery’s Instagram account, which includes over well over 1,000 files of photos,

videos, and communications and (b) the back-up copies of the entirety of Mr. Mercery’s

cellular telephones (and other Apple data) that were digitally stored in his Apple iCloud

account.1

       First, the Instagram warrant is unsupported by probable cause and is

extraordinarily overbroad. Indeed, the face of the warrant reveals that it cannot meet the

Fourth Amendment’s particularity requirement. The warrant does not limit the agents’

authority to seize and review the staggering volume of images, videos, and messages


       1
        Instagram is a popular social media application that permits users to upload
photos, send private message, post videos, and to “geo-tag” images (i.e., to communicate
geo-location information about uploaded content). See, e.g., Instagram’s Wikipedia entry
for a summary of the incredible volume of data and information that Instagram retains
about users. (https://en.wikipedia.org/wiki/Instagram).


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obtained from Instagram.2 It is as if a page is missing from the warrant. Such a glaring

absence of particularity means that the Court should suppress the evidence, and the Leon-

good faith exception cannot apply. Indeed, the absence of any information supporting the

extreme scope of data requested by the warrant, as well as the lack of particularity in the

warrant itself, rendered it unreasonable for any agent to rely on it.

        Moreover, the Instagram affidavit recklessly misrepresented material information

about a confidential source, namely, it omitted information that the source (a) has a

criminal history and (b) is providing information to law enforcement and actively

cooperating because of pending criminal charges. In short, the Court should suppress all

evidence derived from the search and seizure of the contents of Mr. Mercery’s Instagram

account, including the fruits of any such searches.

        Second, the Court should suppress the evidence derived from the search of Mr.

Mercery’s Apple iCloud. Unlike the facially deficient state Instagram warrant referenced

above,3 the Apple warrant does at least attempt to restrict the authority of the agents to

“seize” only certain types of data.4 But the agents violated the terms of the warrant,


        2
        Cf. Groh v. Ramirez, 540 U.S. 551, 558 (2004) (“[T]he warrant did not describe
the items to be seized at all. In this respect the warrant was so obviously deficient that we
must regard the search as ‘warrantless’ within the meaning of our case law.”); Id. at 559
(“We have clearly stated that the presumptive rule against warrantless searches applies
with equal force to searches whose only defect is a lack of particularity in the warrant.”).
        3
         A side-by-side comparison of the Instagram warrant with the Apple warrant
reveals the Instagram warrant’s facial deficiency. Compare Exhibit A (Instagram
Warrant) with Exhibit B (Apple Warrant).
        4
       See In re Applications for Search Warrants for Info. Associated with Target
Email Accounts/Skype Accounts, 13-MJ-8163-JPO, 2013 WL 4647554, at *5 (D. Kan.
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which only authorizes them to seize (or review) records created prior to September 23,

2020. Indeed, the records produced in discovery show that the iCloud back-up contains a

wide swath of data from prior to September 23, 2020. Yet, the Government has made

no effort to segregate that information or to limit the scope of its review. At a minimum,

any digital records created prior to September 23, 2020 must be suppressed given the

express terms of the warrant.5 Moreover, Mr. Mercery is entitled to an evidentiary

hearing to determine whether the agents “flagrant[ly] disregard[ed]” the terms of the

warrant such that all the evidence, and the fruits thereof, must be suppressed. Wuagneux,

683 F.2d at 1354.

        1. TFO Frost’s affidavit and the Instagram warrant.

        A. TFO Frost submitted a barebones affidavit to the Superior Court of
           Athens-Clark County in support of a warrant to search Mr. Mercery’s
           Instagram account.

        On November 12, 2020, FBI Task Force Officer Frost notified an Athens-Clarke

County Police Department detective that he “would be seeking prosecution of Mercery

through the federal system.” See USAO-00095-96 (Report, attached hereto as Exhibit C.)

(emphasis added). Despite his intention to bring the case federally, TFO Frost made the



Aug. 27, 2013) (“[A] warrant must describe the things to be seized with sufficiently
precise language so that it informs the officers how to separate the items that are properly
subject to seizure from those that are irrelevant.”).
        5
        “[T]he permissible scope of a search is governed by the terms of the warrant,”
United States v. Wuagneux, 683 F.2d 1343, 1352 (11th Cir. 1982), and “[o]nly items
described in the search warrant may be seized.” United States v. Jenkins, 901 F.2d 1075,
1081 (11th Cir. 1990); United States v. Evaschuck, 65 F. Supp. 2d 1360, 1368 (M.D. Fla.
1999) (suppressing evidence that was collected outside the scope of the warrant).
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decision to obtain a warrant for Mr. Mercery’s Instagram account from the Superior

Court of Athens-Clarke County rather than a federal magistrate judge.

        On November 16, 2020, TFO Frost presented an affidavit in support of the search

warrant. Specifically, the affidavit alleged that Mr. Mercery engaged in criminal conduct

on three dates: September 23, 2020, October 16, 2020, and October 26, 2020, all of

which involved his possession of a firearm as a convicted felon. Notably, the affidavit

does not identify any criminal conduct that Mr. Mercery engaged in that took place prior

to September 23, 2020. See Exhibit D, Instagram Affidavit, at 2-3.

        TFO Frost’s affidavit confirms that he relied on information from a confidential

source who apparently “provided a clothing description” of Mercery and who purported

to know that Mr. Mercery’s nickname was “Stunt.” The affidavit explains that on

October 21, 2020:

        [TFO Frost] was in contact with a confidential source of the Federal
        Bureau of Investigation. This source has provided information to Frost
        that has resulted in the seizure of illegal drugs. On this occasion the
        confidential source told Frost that it was aware that an Individual it
        knows as Stunt is wanted by law enforcement. The confidential source
        further identified Stunt as Cedric Mercery. The confidential source
        provided (***-***-**77) as Mercery’s phone number. Additionally, the
        same source told Frost that Mercery was currently located in
        Rocksprings Homes and provided a clothing description. Officers went
        to the area of Rocksprings Homes and observed Mercery as he was
        described but were unable to take him into custody.

Instagram Affidavit, at 3 (emphasis added, phone number omitted).

        While the agent affirmatively vouches for the informant’s credibility by pointing

out that he has provided information that “has resulted in the seizure of illegal drugs[,]”

the affidavit omits any derogatory information about the source, namely, whether the
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source has a criminal history, whether he is cooperating with law enforcement to obtain a

favorable sentence or plea deal, or any other information that may negatively bear on his

credibility.

          Apparently relying on the confidential source’s identification of Mercery and his

nickname “Stunt”—but without further explaining how he identified Mercery’s

Instagram account—TFO Frost noted that he “reviewed Instagram Account name:

https://instagram.com/stunt_devasi.” His affidavit said that he “believes that [the]

Instagram account name of stunt_devasi belongs to [Mercery],” that he is “familiar with

Mercery” and that he has “observed that [Mercery] has multiple photos showing him

under this account.” Instagram Affidavit, at 4.

          Although the affidavit does not say so, it appears that TFO Frost accessed certain

publicly accessible portions of Mr. Mercery’s Instagram account (since the affidavit

provides some information about what TFO Frost saw in Mr. Mercery’s account). Here’s

what the agent said (and didn’t say) about what he saw on Mr. Mercery’s Instagram

account.

    i.       The affidavit’s allegations about Instagram videos.

          The affidavit says that “Mercery posted videos on his story of himself discussing

committing acts of violence such as robbery to get money and illegal drugs” and that Mr.

Mercery posted videos “with what appears to be large sums of money.” Instagram

Affidavit, at 4 (emphasis added). TFO Frost does not suggest that these videos depict Mr.

Mercery carrying firearms, holding or brandishing weapons, or personally threatening

any violence whatsoever. Likewise, the affidavit does not suggest that Mr. Mercery
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discussed using guns, firearms, or weapons of any kind. And the affidavit does not

identify the dates on which these videos were posted.



    ii.       The affidavit contains virtually no allegations about Instagram photos.

           The affidavit contains no indication that the Instagram account contained any

photos showing firearms, violence, narcotics, money, contraband, or criminal activity.

Instagram Affidavit, at 4. The only allegation describing photos in the affidavit says that

there were photos “showing” Mercery, but with no elaboration. Id.

    iii.      The affidavit does not identify any Instagram communications.

           The affidavit does not identify any communications or written messages that

Mercery sent or posted using Instagram. Nor does it identify any individuals with whom

he is suspected to have been communicating with.

    iv.       While the affidavit says that there is probable cause to believe that there
              will be evidence of drug trafficking communications in the Instagram
              account, it says nothing about whether there is probable cause to obtain
              videos, photos, or any other Instagram data.

           Despite the absence of any allegations establishing that Mr. Mercery is a drug

dealer, purchaser, or user, TFO Frost explained that he believes, based on his “experience

and training,” that “individuals involved in the purchasing, use, and distribution of illegal

drugs” use Instagram’s communication services to traffic narcotics. See Instagram

Affidavit, at 4. Not only are there no facts in the affidavit establishing probable cause to

believe that that Mr. Mercery is an individual “involved in the purchasing, use, and

distribution of illegal drugs”; the affidavit does not allege or suggest that Mercery’s

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Instagram account will contain videos, photos, or evidence showing that he possessed a

firearm. Put differently, the affidavit does not allege or suggest that there is probable

cause to believe that the Instagram account will contain any evidence about whether

Mr. Mercery was a felon in possession of a firearm.

        B. The search warrant compelled Instagram to produce the entire contents of
           Mr. Mercery’s Instagram account, including videos, photos, and
           communications, going back to October 2019 with no restrictions on
           which items agents could seize.

        Despite the fact that the warrant only identified criminal conduct in September

2020 and October 2020, and the fact that TFO Frost only believed that there was

probable cause to access Instagram’s messaging and communications services to find

communications involving drug trafficking activity, a judge sitting the Superior Court of

Athens-Clarke County issued an extraordinarily broad warrant directing Instagram to

produce: (a) “[a]ll photographs and images in the user gallery for the account” without

any date restriction; (b) all communications of messages received going back to

October 26, 2019 through October 26, 2020; (c) “[a]ll data and information that has been

deleted by the user [sic] October 26, 2019 until October 26, 2020”; (d) “[a]ll user content

created, uploaded, or shared by the account, including any comments made by the

account on photographs or other content [from] October 26, 2019 until October 26,

2020”; and more. See Instagram Warrant, at 1-2 (describing 18 categories of data). But

the warrant contains no guidance on what data the agents may seize or properly review

within the scope of the warrant.

        The warrant notes that: “[t]here is now located certain instruments, articles,

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person(s), or things, namely: [a list of 18 categories of Instagram records], [w]hich is

being possessed as evidence of a violation of Georgia law, namely, O.C.G.A 16-11-131

Possession of a Firearm by a convicted felon[.]” Instagram Warrant, at 1-2. But nothing

in the warrant purports to restrict the agent’s authority to use the tremendous volume of

Instagram data.

        2. The Court should suppress the search and seizure of the contents of Mr.
           Mercery’s Instagram account.

             A. The Instagram warrant lacks particularity as there is nothing in the
                warrant that restricts, or authorizes, the Government to review the
                data produced by Instagram.

        The warrant is facially overbroad and lacks particularity. For starters,

the warrant only identifies the information that Instagram must produce to the law

enforcement agents, namely, the 18 categories of data noted above. The warrant places no

limit on what types of data that the Government may seize from that production of data.

Nor does it expressly authorize the Government to seize that data. The warrant therefore

lacks particularity. Cf. Groh v. Ramirez, 540 U.S. 551, 558 (2004) (“[T]he warrant did

not describe the items to be seized at all. In this respect the warrant was so obviously

deficient that we must regard the search as ‘warrantless’ within the meaning of our case

law.”); Id. at 559 (“We have clearly stated that the presumptive rule against warrantless

searches applies with equal force to searches whose only defect is a lack of particularity

in the warrant.”). In other words, the Government’s review of the Instagram data has

been, as a practical matter, warrantless.

        Indeed, when the Department of Justice compels a third party, such as Instagram,

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to produce email or other content via a search warrant, it generally attempts to comply

with Federal Rule of Criminal Procedure 41 by creating a two-step process; the “search”

involves a compelled production of broader categories of data from a third party, while

the “seizure” involves the identification and copying of the data that the Government is

authorized to review pursuant to the warrant. See, e.g., In re Search of Info. Associated

with Facebook Account Identified by Username Aaron.Alexis, 21 F. Supp. 3d 1, 8

(D.D.C. 2013) (“It is with the two-step procedure in Rule 41 in mind that the government

has created the fiction that, although a great deal of information will be disclosed to it by

Facebook, it will only ‘seize’ that which is specified in the warrant.”). The U.S.

Department of Justice has explained, in its manual on Searching and Seizing Computers

and Obtaining Electronic Evidence in Criminal Investigations,6 how the two-step process

under a Title 18, Section 2703 warrant works: “First, the warrant directs the service

provider to produce all email [or other content] from within the specified account or

accounts. Second, the warrant authorizes law enforcement to review the information

produced to identify and copy information that falls within the scope of the

particularized ‘items to be seized’ under the warrant.” (emphasis added).

        Here, there is no “items to be seized” part of the warrant. Because the warrant fails

to identify (or particularize) which specific subset of records may be reviewed or

“seized” by the Government, the warrant is facially deficient. Therefore, the Instagram


        6
         The entire manual is publicly—accessible at this link:
https://www.justice.gov/sites/default/files/criminal-
ccips/legacy/2015/01/14/ssmanual2009.pdf
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records, including all fruits derived therefrom, must be suppressed. United States v.

Leary, 846 F.2d 592, 609 (10th Cir. 1988) (“We conclude that the government may not

rely on the ‘good faith’ exception in this case and that all evidence seized under the

Kleinberg warrant should be suppressed. We find the warrant so facially deficient in its

description of the items to be seized that the executing officers could not reasonably rely

on it.”).7

             B. The Instagram warrant is grossly overbroad as to timeframe.

        TFO Frost’s affidavit only identifies criminal conduct that took place over a two-

month period: September and October 2020. The warrant, by contrast, compelled

Instagram to produce all records without a date restriction when it came to

“photographs and images in the user gallery for the account” and going back to October

2019—a year before any alleged criminal activity involving a firearm—for most of the


        7
         See also United States v. Kow, 58 F.3d 423, 427 (9th Cir. 1995) (“However, the
warrant contained no limitations on which documents within each category could be
seized or suggested how they related to specific criminal activity. By failing to describe
with any particularity the items to be seized, the warrant is indistinguishable from the
general warrants repeatedly held by this court to be unconstitutional.”); United States v.
Rosa, 626 F.3d 56, 61 (2d Cir. 2010) (“Rosa effectively argues that the warrant's
authorization of an uncircumscribed search of his electronic equipment violated the
Fourth Amendment's core protection against general searches because it provided the
government with unrestrained access to electronic records of his daily activities and
private affairs.”); In re Applications for Search Warrants for Info. Associated with Target
Email Accounts/Skype Accounts, 13-MJ-8163-JPO, 2013 WL 4647554, at *9 (D. Kan.
Aug. 27, 2013) (“The warrants as currently proposed give the government virtual carte
blanche to review the content of all electronic communications associated with the
accounts and fail to adequately limit the discretion of the government-authorized agents
executing the warrants. The absence of any limitations in the warrants on the
government's review of the content of all email communications obtained from the
Providers is in violation of the Fourth Amendment.”).
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other categories. That’s too broad. See, e.g., United States v. Blake, 868 F.3d 960, 974

(11th Cir. 2017) (“[T]he warrants should have requested data only from the period of

time during which Moore was suspected of taking part in the prostitution conspiracy.”)

(emphasis added).

        The warrant’s failure to include an appropriate date restriction, tethered to the

facts supporting probable cause, renders it overbroad and improper. See, e.g., United

States v. Chen, 17-CR-00603-BLF-1, 2020 WL 6585803, at *8 (N.D. Cal. Nov. 10, 2020)

(“Courts in this district have found search warrants overbroad when the date range

exceeds the reasonable scope of probable cause.”); United States v. Cerna, CR 08-0730

WHA, 2010 WL 3749449, at *17 (N.D. Cal. Sept. 22, 2010) (“The date range of the

search warrant, however, was overbroad and insufficiently particular.”); In re Search of

Google Email Accounts Identified in Attachment A, 92 F. Supp. 3d 944, 952 (D. Alaska

2015) (“[T]he scope of the government's authority to search and seize under the warrant

is not tailored to its probable cause showing. A warrant is overbroad if it expands the

scope of the government's search beyond the places implicated by the probable-cause

showing.”).

        Indeed, the affidavit doesn’t even attempt to explain why the Instagram account

would contain any relevant records from before September 2020. As the Eleventh Circuit

noted in Blake, to avoid charges of being a “general warrant,” warrants should only

compel records related to the timeframe of the alleged criminal conduct. 868 F.3d at 974

(“With respect to private instant messages, for example, the warrants could have limited

the request to messages sent to or from persons suspected at that time of being prostitutes
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or customers. And the warrants should have requested data only from the period of time

during which Moore was suspected of taking part in the prostitution conspiracy.

Disclosures consistent with those limitations might then have provided probable cause for

a broader, although still targeted, search of Moore's Facebook account. That procedure

would have undermined any claim that the Facebook warrants were the internet-era

version of a ‘general warrant.’”).8

        Given that the affidavit covers criminal conduct within a narrow two-month

period, the request to search for more than two months’ worth of records is nothing more

than the improper rummaging through private information. Cf. United States v. Abboud,

438 F.3d 554, 576 (6th Cir. 2006) (“Here, law enforcement knew that the evidence in



        8
         See also United States v. Matter of Search of Info. Associated with Fifteen Email
Addresses Stored at Premises Owned, 2:17-CM-3152-WC, 2017 WL 4322826, at *5
(M.D. Ala. Sept. 28, 2017), on reconsideration sub nom. United States v. Matter of
Search of Info. Associated with Fifteen Email Addresses Stored at Premises Owned ,
Maintained, Controlled or Operated by 1&1 Media, Inc., 2:17-CM-3152-WKW, 2017
WL 8751915 (M.D. Ala. Dec. 1, 2017) (“The Eleventh Circuit has recently noted that it
is ‘troubling’ when searches of email accounts ‘d[o] not limit the emails sought to emails
sent or received within the time of [the suspect's] suspected participation in the
conspiracy.’ United States v. Blake, 868 F.3d 960, 973 n.7 (11th Cir. 2017). Other courts
have likewise emphasized the importance of the time period for which the Government
seeks digital information. E.g., United States v. Hanna, 661 F.3d 271, 287 (6th Cir. 2011)
(upholding search warrant that was limited to ‘the time period that the evidence
suggested the activity occurred’); In re Search of Google Email Accounts, 92 F. Supp. 3d
944, 952 (D. Alaska 2015) (denying warrant application that ‘would authorize the
government to seize and search the entirety of the six Gmail accounts, even though the
government has only established probable cause to look at a small number of emails
within a narrow date range’); United States v. Shah, No. 5:13-CR-328-FL, 2015 WL
72118, at *14 (E.D.N.C. Jan. 6, 2015) (concluding search warrant was overbroad since it
‘offer[ed] nothing about the time frame of the offense’ and instead sought all evidence
‘since account inception’”)).
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support of probable cause in the affidavit revolved only around a three-month period in

1999; the authorization to search for evidence irrelevant to that time frame could well be

described as ‘rummaging’”). As a leading treatise put it, “an otherwise unobjectionable

description of the objects to be seized is defective if it is broader than can be justified by

the probable cause upon which the warrant is based.” Wayne R. LaFave, Search and

Seizure: A Treatise on the Fourth Amendment § 4.6(a) General considerations, 2 Search

& Seizure § 4.6(a) (6th ed.) (emphasis added).

        Lastly, the warrant fails to limit its request for communications to particular

individuals or suspected co-conspirators. See Blake, 868 F.3d at 974 (“With respect to

private instant messages, for example, the warrants could have limited the request to

messages sent to or from persons suspected at that time of being prostitutes or

customers.”). Therefore, even if the warrant was properly limited as to time, it still lacked

other appropriate protections that rendered it overbroad.

             C. The “good faith” exception does not apply.

        Here, the Government may not rely on the argument that the agents relied

on the affidavit in good faith. See, e.g., United States v. Leon, 468 U.S. 897, 922 (1984).

First, the warrant was so facially deficient, and so at odds with U.S. Department of

Justice practices, that the good faith exception does not apply. Cf. Leary, 846 F.2d at 609

(“We conclude that the government may not rely on the ‘good faith’ exception in this

case and that all evidence seized under the Kleinberg warrant should be suppressed. We

find the warrant so facially deficient in its description of the items to be seized that the

executing officers could not reasonably rely on it.”); Groh v. Ramirez, 540 U.S. 551, 558
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(2004) (“In other words, the warrant did not describe the items to be seized at all. In this

respect the warrant was so obviously deficient that we must regard the search as

‘warrantless’ within the meaning of our case law.”). In other words, the officers cannot

reasonably have presumed that this warrant was valid. The Court can suppress the

Instagram search warrant on these grounds without an evidentiary hearing.

        Second, the affidavit recklessly omitted information that would have (a)

undermined the confidential source’s credibility and (b) impacted the judge’s ability to

find probable cause to issue the warrant. As noted above, the only facts in the affidavit

linking Mr. Mercery to the Instagram account (with the handle stunt_devasi) turn on

information provided by the confidential source (relating to Mr. Mercery’s nickname

“Stunt” and Mr. Mercery’s description). But the affidavit omitted information that

undermines the credibility of the confidential source and would have undermined the

judge’s factual basis to make a probable cause finding.

        The month before TFO Frost presented the Instagram search warrant affidavit, he

submitted an affidavit in support of a geolocation warrant for Mr. Mercery’s phone. See

Geolocation Application and Affidavit attached hereto as Exhibit E. TFO Frost’s affidavit

in support of the application contained a paragraph about the confidential source that was

virtually identical to the one he submitted in support of the Instagram warrant. But there

was one difference. The geolocation affidavit noted that “[s]aid source is also seeking to

provide substantial assistance to law enforcement in connection with potential

criminal charges.” Geolocation Affidavit, at 3 (emphasis added). But, for reasons that

the Government has not explained, that paragraph was deleted and missing from TFO
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Frost’s affidavit in support of the Instagram warrant.

        Given that the Instagram affidavit contains no explanation as to how TFO Frost

would have known about Mercery’s nickname “Stunt”, his description, or his Instagram

account (account name stunt_devasi) without relying on the confidential source,9

information about the confidential source’s credibility was material. Cf. United States v.

Glover, 755 F.3d 811, 817 (7th Cir. 2014) (“The omission of that adverse information

impaired the neutral role of the magistrate deciding whether to issue the warrant. As the

government properly acknowledged at oral argument, such information is so essential to

a witness's credibility that the same information regarding a government witness at trial

would have to be disclosed to the defense as exculpatory material under Brady v.

Maryland, 373 U.S. 83, 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972).”10

In such circumstances, the good faith exception does not apply. United States v. Martin,



        9
         Other than TFO Frost’s statement that he is “familiar with Mercery,” the
affidavit does not allege that TFO Frost is able to independently identify Mr. Mercery’s
by his appearance. Nor does the affidavit allege that TFO Frost has ever seen Mr.
Mercery in person, that he had previously seen photographs of Mr. Mercery, or whether
his knowledge about Mercery’s appearance is based on information from the source.
        10
         Cf. United States v. Novaton, 271 F.3d 968, 987 (11th Cir. 2001) (“We find
troubling Agent Lucas' apparent misrepresentations concerning the past cooperation of
the informants involved in this case. Although the government maintains that there was
an absence of proof concerning the agent's deliberateness or recklessness in making the
misrepresentations, it is unclear how Agent Lucas could have made such statements of an
affirmative character for which there was no basis without having acted either
deliberately or recklessly. Accordingly, we will assume that this was a deliberate or
reckless misrepresentation.”); United States v. Bradford, 905 F.3d 497, 504 (7th Cir.
2018) (“Omitting [credibility] information deprives the magistrate of important data in
the probable-cause calculus.”).
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297 F.3d 1308, 1312-1313 (11th Cir. 2002).

        On the one hand, the Court could grant the motion to suppress without a Franks

hearing (i.e., a hearing to determine whether the information was omitted recklessly). See

Leon, 468 U.S. at 915 (citing Franks v. Delaware, 438 U.S. 154 (1978)). Indeed, a side-

by-side comparison of the Instagram and Geolocation Affidavits confirms that the

Instagram Affidavit omitted material information about the confidential source. But the

proper course is to grant an evidentiary hearing so that Mr. Mercery can ascertain (a)

whether there is additional negative information bearing on the source’s credibility and

(b) the reason why the information is missing from the Instagram affidavit.11

        3. The Court should suppress the search warrant for Mr. Mercery’s iCloud
           data hosted by Apple.

        The information derived from the search of Mr. Mercery’s Apple iCloud accounts

should be suppressed. Unlike the facially deficient Instagram warrant referenced above,12

the Apple warrant restricts the authority of the agents to “seize” only certain types of


        11
          Mr. Mercery notes that the affidavit contains a number of other omissions,
including (a) information indicating that Ms. Mitchell has retracted allegations related to
the October 16, 2020 incident identified in the affidavit, (b) that Shownicia Hull, a
witness the agent relied on in the affidavit, had herself committed drug and gun offenses,
and is now under indictment by the U.S. Attorney’s Office for the Middle District of
Georgia (See, e.g., United States v. Shownicia Hull, Case No. 3:21-CR-00035-
CAR=CHW), and (c) other exculpatory information related to the September 2020
incident. Should the Court schedule a Franks hearing, Mr. Mercery respectfully requests
an opportunity to question the agent about these facts and why they were omitted from
the affidavit.
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          A side-by-side comparison of the Instagram warrant with the Apple warrant
reveals the Instagram warrant’s facial deficiency. Compare Exhibit A (Instagram
Warrant) with Exhibit B (Apple Warrant).
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data.

        Such restrictions were critical given the staggering volume of information that the

Government sought in this case. Indeed, this was no mere search of an Apple iPhone. The

Government obtained a warrant seeking all digital backups of every Apple device that

Mr. Mercery owned or that were associated with his accounts, as well as data relating to

virtually any and every Apple service he subscribed to. As the Supreme Court put it,

“[m[odern cell phones are not just another technological convenience. With all they

contain and all they may reveal, they hold for many Americans the privacies of life.”

Riley v. California, 573 U.S. 373, 403 (2014) (quotations omitted). But this warrant was

even more intrusive as it sought all data associated with any iCloud backups of any of

Mr. Mercery’s phones, computers, and more.

        Indeed, Attachment B to the affidavit contains a subsection entitled “Particular

Things to be Seized” with a subsection, “I. Information to be disclosed by Apple,” and a

second subsection entitled “Information to be seized by the government[.]” Apple

Warrant Attachment B, at 1-4. To that end, Attachment B.I. identifies a mind boggling

array of digital data—including images of backups of Mr. Mercery’s cellphone and

computer data stored with Apple—that must be disclosed such as “the contents of all files

and other records stored on iCloud, including all iOS device backups, all Apple and third-

party app data, all files and other records related to iCloud Mail, iCloud Photo Sharing”;

the “contents of all emails associated with the account from September 23, 2020 to the

date this warrant was authorized”; “[t]he content of all instant messages associate[d] with

the account from September 23, 2020 to the date this warrant was authorized”; “[a]ll
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records and information regarding locations where the account or devices associated with

the account were accessed” and other data listed in B.I.

        But page 4 of Attachment B contains a section entitled “[i]nformation to be seized

by the government.” Apple Warrant Attachment B, at 4. Attachment B imposes limits on

what the agents were authorized to “seize,” and one of the key limits was a hard date

restriction. That is, the Government was only authorized to “seize” certain records

created on or after September 23, 2020. That language is consistent with FBI SA

Hipkiss’s affidavit; he only describes criminal conduct that took place within the two-

month window of September to October 2020. To that end, SA Hipkiss’s affidavit

represented to the U.S. Magistrate Judge that government authorized persons would only

review the broad swath of Apple data “to locate the items described in Section II of

Attachment B.” See Affidavit in Support of an Application for a Search Warrant to

Apple, attached hereto as Exhibit F at 14.

        Yet, the records produced in discovery show that the agents have made no effort

to segregate responsive records from non-responsive records. A cursory review of “the

Apple iCloud Backup” records that the Government has produced in discovery shows

that the Government seized large swaths of data created before September 23, 2020—

contrary to the express terms of the warrant. Moreover, the FBI evidence log shows that

the entirety of Mr. Mercery’s iCloud data currently resides on a 500GB drive. See

Evidence Log, attached hereto as Exhibit G. Based on the evidence log, it appears that the

Government has made no effort to seize responsive records and segregate the non-


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responsive information.13

        Of course, “[t]he permissible scope of a search is governed by the terms of the

warrant,” Wuagneux, 683 F.2d at 1352, and “[o]nly items described in the search warrant

may be seized.” Jenkins, 901 F.2d at 1081; Evaschuck, 65 F. Supp. 2d at 1368

(suppressing evidence that was collected outside the scope of the warrant).

        Therefore, the Court should suppress any and all records created before September

23, 2020 as (a) the warrant does not authorize agents to seize any such records, (b) SA

Hipkiss represented to the U.S. Magistrate Judge that the government’s review would be

consistent with attachment B.II, and (c) there was no probable cause identified in the

affidavit that would support viewing any records prior to September 23, 2020.

        Second, the Court should grant a hearing so that Mr. Mercery can determine

whether the Government has “flagrantly disregarded” the restrictions imposed by the

warrant such that all the evidence obtained from Apple should be suppressed. Wuagneux,

683 F.2d at 1354.

        Lastly, the Court should suppress the search of the Apple accounts because the

affidavit in support of the warrant fails to establish probable cause for each and every

Apple service that Mr. Mercery used. It is one thing to establish probable cause to believe

that there may be some evidence on an iPhone. But it is quite another to assert that there

is probable cause to search across every Apple service including iCloud Photo Library,



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         Mr. Mercery notes that he has asked the Government to confirm whether it has
separated responsive or non-responsive records from Apple iCloud account, including on
June 7, 2021, and the Government has not confirmed whether it has done so.
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iCloud tabs and bookmarks, iCloud Keychain, calendar entries, email accounts, instant

messages, SMS messages, MMS messages, voicemails, videos, and for iOS backups of

every phone or computer that Mr. Mercery ever used. As noted above, “an otherwise

unobjectionable description of the objects to be seized is defective if it is broader than

can be justified by the probable cause upon which the warrant is based.” Wayne R.

LaFave, Search and Seizure: A Treatise on the Fourth Amendment § 4.6(a)General

considerations, 2 Search & Seizure § 4.6(a) (6th ed.) (emphasis added). Therefore, the

Court should suppress any evidence that is broader than the probable cause identified in

the affidavit, which focused primarily on the potential for photos and videos. See Apple

Search Warrant Affidavit, at 7.

                                      CONCLUSION

        Mr. Mercery respectfully requests that the Court suppress all evidence and any fruits

derived from the search of Mr. Mercery’s Apple and Instagram accounts as noted above.

        Respectfully submitted this 7th day of September, 2021.


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                             CERTIFICATE OF SERVICE

        I hereby certify that on today’s date I electronically filed the Motion to Suppress

with the Clerk of the Court using the CM/ECF system.



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